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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION




ALTPASS LLC,

                              Plaintiff,                    Case No. 6:21-cv-797

                 v.                                       JURY TRIAL DEMANDED

GOOGLE LLC,

                             Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT

       This is an action for patent infringement in which Altpass LLC (“Plaintiff”) accuses

Google LLC (“Defendant” or “Google”), of infringing U.S. Patent No, 7,350,078, U.S. Patent

No. 7,725,725, and U.S. Patent No. 8,429,415 (collectively, the “Patents-in-Suit”), alleging as

follows:

                                             PARTIES

       1.       Plaintiff is a Texas limited liability company, having a principal place of business

at 106 E St., Suite 900, Austin, TX 78701.

       2.       Upon information and belief, Defendant Google, is a limited liability corporation

organized under the laws of Delaware. Google maintains a regular and established place of

business in this District at 500 West 2nd Street, Austin, Texas 78701. Google may be served

with process though its registered agent, the Corporation Service Company, at 211 East 7th
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Street, Suite 620, Austin, Texas 78701. Google is registered to do business in the state of Texas

and has been since at least November 17, 2006.

       3.       On information and belief, Google regularly conducts and transacts business in

the State of Texas, throughout the United States, and within this District, and as set forth below,

has committed and continues to commit, tortious acts of infringement within and outside the

State of Texas and within this District.

                                 JURISDICTION AND VENUE

       4.       This is an action for infringement of the Patents-in-Suit arising under 35 §§

271(a)-(b), 281, and 284 – 85. This Court has subject matter Jurisdiction over this action under

28 U.S.C. §1331 and §1338(a).

       5.       This Court has personal jurisdiction over Google by virtue of its systematic and

continuous contacts with this jurisdiction, as alleged herein, as well as because the injury to

Plaintiff occurred in the State of Texas and the claim for relief possessed by Plaintiff against

Google for that injury arose in the State of Texas. On information and belief, Google has

purposely availed itself of the privileges of conducting business within the State of Texas, such

business including but not limited to: (i) at least a portion of the infringements alleged herein; (ii)

purposefully and voluntarily placing one or more infringing products or services into the stream

of commerce with the expectation that they will be purchased by consumers in this forum; or (iii)

regularly transacting or soliciting business, engaging in other persistent courses of conduct, or

deriving or attempting to derive substantial revenue and financial benefits from goods and

services provided to individuals residing in the State of Texas and in this District. Thus, Google



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is subject to this Court’s specific and general personal jurisdiction under due process and the

Texas Long Arm Statute.

       6.       Personal Jurisdiction also exists because Google, directly or through subsidiaries

or intermediaries (including customers, distributors, retailers, and others), subsidiaries, alter

egos, and/or agents – ships, distributes, offers for sale, sells, imports, advertises, or markets in

the State of Texas and in this District, one or more products or services that infringe the Patents-

in-Suit, as described particularly below. Google has purposefully and voluntarily placed one or

more of its infringing products or services, as described below, into the stream of commerce with

the awareness and/or intent that these products or services will be purchased or used by

consumers in this District. Google has knowingly and purposefully shipped infringing products

or services into and within this District through an established distribution channel. These

infringing products or services have been and continue to be purchased and used by consumers

in this District. In addition, on information and belief, Google has found indirect way to

monetize consumers’ use of its products and services, for example, by promoting consumers’

adherence to Google’s technological ecosystems and promoting sales of related Google products

and services and by selling opportunities to advertise to consumers of its products and services.

       7.       Plaintiff’s claim for relief for patent infringement arises directly from the

activities of Google in this District.

       8.       On information and belief, Google, directly and/or through its customers has

transacted business in this District and has committed acts of patent infringement in this District.




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By virtue of its office in this District, Google has a regular and established place of business in

this District. Thus, venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).

                                   U.S. PATENT NO. 7,350,078

        9.       On March 25, 2008, United States Patent No. 7,350,078 (the “‘078 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “User Selection of Computer Login.” A true and correct copy of the ‘078 patent is

attached hereto as Exhibit A.

        10.      Gary Odom is the inventor of the ‘078 patent.

       11.       Plaintiff is the owner by assignment of the ‘078 patent with all rights in and to

that patent.

       12.       Upon information and belief, to the extent any marking was required by 35

U.S.C. § 287, Plaintiff has complied with such requirements.


                                   U.S. PATENT NO. 7,725,725

        13.      On May 10, 2010, United States Patent No. 7,725,725 (the “’725 patent”) was

duly and legally issues by the United States Patent and Trademark Office for an invention

entitled “User-Selectable Signatures.” A true and correct copy of the ‘725 patent is attached

hereto as Exhibit B.

        14.      Gary Odom is the inventor of the ‘725 patent.

       15.       Plaintiff is the owner by assignment of the ‘725 patent with all rights in and to

that patent.




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       16.     Upon information and belief, to the extent any marking was required by 35

U.S.C. § 287, Plaintiff has complied with such requirements.

                                 U.S. PATENT NO. 8,429,415

        17.    On April 23, 2013, United States Patent No. 8,429,415 (the “‘415 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “User-Selectable Signatures.” A true and correct copy of the ‘415 patent is attached

hereto as Exhibit C.

        18.    Gary Odom is the inventor of the ‘415 patent.

       19.     Plaintiff is the owner by assignment of the ‘415 patent with all rights in and to

that patent.

        20.    Upon information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, Plaintiff has complied with such requirements.


                                            COUNT I

                          Infringement of U.S. Patent No. 7,350,078

        21.    Plaintiff hereby realleges paragraphs 1 through 20 as though fully set forth herein.

        22.    Defendant directly and/or through intermediaries, makes, uses, offers to sell, or

sells computing devices with user-selectable signatures which infringe the ‘078 Patent, shown in

Exhibit A-1.

        23.    Upon information and belief, Defendant, its resellers, and end-user customers,

have been and are now infringing at least claims 1 and 3 of the ’078 Patent in the State of Texas,

in this Judicial District, and elsewhere in the United States, by, among other things, directly or

through intermediaries using computing devices with user-selectable signatures, i.e., the Google

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Pixel 4a, Pixel 4a with 5G, and the Pixel 5 (the “Accused Instrumentalities”), covered by at least

claims 1 and 3 of the ’078 Patent to the injury of Plaintiff. Defendant, its resellers, and end-user

customers, are directly infringing, literally infringing, and/or infringing the ’078 Patent under the

doctrine of equivalents. Defendant is thus liable for direct infringement of the ’078 Patent

pursuant to 35 U.S.C. § 271(a).

       24.     For example, the use of the Google Pixel 4a by Defendant, its resellers, or end-

user customers, directly infringe claim 1 of the ’078 Patent and performs a method for creating a

signature for subsequent authentication (i.e., they create signatures in the form of a password and

a fingerprint that are used for subsequent authentication) comprising: indicating to a user

commencement of signature input recording (i.e., they request user input to begin recording a

signature); recording user input signals by type (i.e., a password, a pattern, a PIN and fingerprint)

from at least one user-selected device among a plurality of selectable user input devices (i.e., a

touch screen and a fingerprint sensor that are built into the device), wherein a signal comprises a

set of related software-recognizable data of the same type received from at least one input device

(i.e., the recorded data from the input signal is recognized as a type of data, such as fingerprint,

password, pattern, or PIN data), and wherein at least one user-selectable input device affords

recording a plurality of signal types (i.e., the touch screen (user-selectable input device) is used to

record a pattern, PIN, or password (a plurality of signal types)), and wherein a signal type

comprises a category (i.e., fingerprint, password, pattern, or PIN input), among a plurality of

possible categories, of measurable variable input associated with at least one user-selectable input

device (i.e., the input such as unlock fingerprint, password, pattern or PIN contain measurable

variations associated with the input device); terminating said recording; creating a signature




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based at least in part upon said recording; and storing said signature (e.g., once the pattern

signature is complete, the pattern signature data is stored). See Ex. A-1, Figs. 1-14.

       25.     Additionally, the use of the Google Pixel 4a by Defendant, its resellers, or end-

user customers, directly infringe claim 3 of the ’078 Patent by further comprising receiving user

selection of at least one signal type (e.g., pattern or PIN) from a plurality of signal types (e.g.,

pattern or PIN) associated with at least one user input device (e.g., touch screen).

       26.     As a result of Defendant’s infringement of the ’078 Patent, Plaintiff has suffered

monetary damages and is entitled to a money judgment in an amount adequate to compensate for

Defendant’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Defendant, together with interest and costs as fixed by the court.

                                             COUNT II

               INDUCED INFRINGEMENT OF U.S. PATENT NO. 7,350,078

       27.     Upon information and belief, Defendant is now inducing the infringement by its

resellers and end-use customers of at least claims 1 and 3 of the ’078 Patent in the State of Texas,

in this Judicial District, and elsewhere in the United States, by, among other things, directly or

through intermediaries, inducing its resellers and end-user customers to use the Accused

Instrumentalities in its customary manner which, as shown above, infringe claims 1 and 3 of the

’078 Patent to the injury of Plaintiff. Defendant’s resellers and end-use customers are directly

infringing, literally infringing, and/or infringing the ’078 Patent under the doctrine of equivalents.

Defendant is thus liable for infringement of the ’078 Patent pursuant to 35 U.S.C. § 271(b).

       28.     Defendant received actual notice of the ’078 Patent at least as early as the date of

the filing of this Complaint.




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       29.     Defendant’s affirmative act of providing instruction manuals, advertisement of the

infringing features, and support for the Accused Instrumentalities induces Defendant’s resellers

and end users to use the Accused Instrumentalities in their normal and customary way to directly

infringe claims 1 of the ’078 Patent.

       30.     As of the filing of this complaint, Defendant’s continued making, selling, and/or

offering for sale the Accused Instrumentalities and providing instruction manuals, advertisement

of the infringing features, and support for the Accused Instrumentalities demonstrates

Defendant’s specific intent that its resellers and end-users directly infringe claims 1 and 3 of the

’078 Patent. Defendant is aware that such actions would induce actual infringement since at least

the filing of this Complaint. Furthermore, Defendant remains aware that these normal and

customary activities would infringe the ’078 Patent.

       31.     For example, in connection with the sale and/or offering for sale of the Google

Pixel 4a, Defendant provides manuals and support to resellers and end-use customers regarding

the use and operation of the Google Pixel 4a. Specifically, Defendant provides manuals and

support through its website https://support.google.com/pixelphone/answer/2824802?hl=en. When

end-users follow such instructions and support, they directly infringe the ’078 Patent. Defendant

knows or should know that by providing such instructs and support, resellers and end-use

customers follow these instructions and support and directly infringe the ’078 Patent.

       32.     Accordingly, Defendant continues to perform acts that induce actual infringement,

with the knowledge of the ’078 Patent and with the knowledge or willful blindness to the fact that

the induced acts would constitute infringement.

       33.     As a result of Defendant’s infringement, either directly or through inducement, of

the ’078 Patent, Plaintiff has suffered monetary damages and is entitled to a money judgment in


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an amount adequate to compensate for Defendant’s infringement, but in no event less than a

reasonable royalty for the use made of the invention by Defendant and the use made by those

Defendant induced to use the invention, together with interest and costs as fixed by the court.

                                            COUNT III

                      INFRINGEMENT OF U.S. PATENT NO. 7,725,725

       34.     Defendant directly or through intermediaries, makes, uses, offers to sell, or sells

devices that practice a computer-implemented process which infringe the ’725 Patent, shown in

Exhibit B-1.

       35.     Upon information and belief, Defendant has been and is now infringing claim 1 of

the ’725 Patent in the State of Texas, in this judicial district, and elsewhere in the United States,

by, among other things, directly or through intermediaries, using computing devices with user

selectable signatures, i.e., the Accused Instrumentalities, covered by one or more claims of the

’725 Patent to the injury of Plaintiff. Defendant is directly infringing, literally infringing, and/or

infringing the ’725 Patent under the doctrine of equivalents. Defendant is thus liable for direct

infringement of the ’725 Patent pursuant to 35 U.S.C. § 271(a).

       36.     For example, the use of the Google Pixel 4a by Defendant, its resellers, or end-

user customers, directly infringe Claim 1 of the ’725 Patent and performs a computer

implemented process comprising; commencing signature input recording (i.e., it displays a menu

that presents users with a choice of screen lock modes (signal types) to unlock the product);

recording user input signals by type (i.e., a fingerprint, pattern, PIN, or a password is recorded)

from at least one user-selected device among a plurality of selectable user input devices

connected to a single computer (i.e., a touch screen and a fingerprint sensor); wherein a signal

comprises a set of related software-recognizable data of the same type received from at least one



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input device (i.e., the recorded data is recognized as a type of data, such as a password data, PIN

data, pattern data or fingerprint data); wherein a signal type comprises a category (i.e., password

input, pattern input, PIN input, or fingerprint input) of measurable variable input (variations of a

password, PIN, pattern, or fingerprint data) associated with at least one user-selectable input

device (i.e., the input such as a password, pattern, PIN, or fingerprint data containing measurable

variations associated with the input device), and wherein at least one user-selectable input device

affords recording a plurality of signal types (i.e., the touch screen (user-selectable input device) is

used to record a password, pattern, or PIN (a plurality of signal types)); terminating said

recording; storing at least a portion of said recording; creating a signature based at least in part

upon at least a portion of said stored recording (i.e., if the pattern signal type was selected, the

device will create a signature using the data received from the touchscreen input device); and

storing said signature See Ex. B-1, Figs. 1-3.

       37.     As a result of Defendant’s infringement of the ’725 Patent, Plaintiff has suffered

monetary damages and is entitled to a money judgment in an amount adequate to compensate for

Defendant’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Defendant, together with interest and costs as fixed by the court.

                                            COUNT IV

               INDUCED INFRINGEMENT OF U.S. PATENT NO. 7,725,725

       38.     Upon information and belief, Defendant is now inducing the infringement by its

resellers and end-use customers of claim 1 of the ’725 Patent in the State of Texas, in this Judicial

District, and elsewhere in the United States, by, among other things, directly or through

intermediaries, inducing its resellers and end-user customers to use the Accused Instrumentalities

in their customary manner which, as shown above, infringes claim 1 of the ’725 Patent to the


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injury of Plaintiff. Defendant’s resellers and end-use customers are directly infringing, literally

infringing, and/or infringing the ’725 Patent under the doctrine of equivalents. Defendant is thus

liable for infringement of the ’725 Patent pursuant to 35 U.S.C. § 271(b).

          39.   Defendant received actual notice of the ’725 Patent at least as early as the date of

the filing of this Complaint.

          40.   Defendant’s affirmative act of providing instruction manuals, advertisement of the

infringing features, and support for the Accused Instrumentalities induces Defendant’s resellers

and end users to use the Accused Instrumentalities in their normal and customary way to directly

infringe claim 1of the ’725 Patent.

          41.   As of the filing of this complaint, Defendant’s continued making, selling, and/or

offering for sale the Accused Instrumentalities and providing instruction manuals, advertisement

of the infringing features, and support for the Accused Instrumentalities demonstrates

Defendant’s specific intent that its resellers and end-users directly infringe claim 1 of the ’725

Patent.

Defendant is aware that such actions would induce actual infringement since at least the filing of

this Complaint. Furthermore, Defendant remains aware that these normal and customary activities

would infringe the ’725 Patent.

          42.   For example, in connection with the sale and/or offering for sale of the Google

Pixel 4a, Defendant provides manuals and support to resellers and end-use customers regarding

the use and operation of the Google Pixel 4a. Specifically, Defendant provides manuals and

support through its website, https://support.google.com/pixelphone/answer/2819522.




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When end-users follow such instructions and support, they directly infringe the ’725 Patent.

Defendant knows or should know that by providing such instructs and support, resellers and end-

use customers follow these instructions and support and directly infringe the ’725 Patent.

       43.     Accordingly, Defendant continues to perform acts that induce actual infringement,

with the knowledge of the ’725 Patent and with the knowledge or willful blindness to the fact that

the induced acts would constitute infringement.

       44.     As a result of Defendant’s infringement, either directly or through inducement, of

the ’725 Patent, Plaintiff has suffered monetary damages and is entitled to a money judgment in

an amount adequate to compensate for Defendant’s infringement, but in no event less than a

reasonable royalty for the use made of the invention by Defendant and the use made by those

Defendant induced to use the invention, together with interest and costs as fixed by the court.

                                            COUNT V

                     INFRINGEMENT OF U.S. PATENT NO. 8,429,415

       45.     Defendant directly or through intermediaries, makes, uses, offers to sell, or sells

navigation devices and software which infringe the ’415 Patent, shown in Exhibit C-1.

       46.     Upon information and belief, Defendant has been and is now infringing at least

claims 1 and 4 of the ’415 Patent in the State of Texas, in this Judicial District, and elsewhere in

the United States, by, among other things, directly or through intermediaries, making, using,

selling, and/or offering for sale computing devices with user-selectable signatures, i.e., the

Accused Instrumentalities, covered by one or more claims of the ’415 Patent to the injury of

Plaintiff. Defendant is directly infringing, literally infringing, and/or infringing the ’415 Patent

under the doctrine of equivalents. Defendant is thus liable for direct infringement of the ’415

Patent pursuant to 35 U.S.C. § 271(a).


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       47.     For example, the Google Pixel 4a infringes claim 1 of the ’415 Patent. The Google

Pixel 4a is a computing device (e.g., Google Pixel 4a with a Qualcomm 730G processor) which

provides secured access (i.e., through the unlock screen features such as password, pattern, PIN,

as well as fingerprint unlock), the computing devices comprising: a program memory; a data

storage memory (i.e., internal and external memory); first and second input devices both of which

are part of the computing device (i.e., a touch screen and a fingerprint sensor that are built into

the device) and are selectable by a user via the computing device to allow the user to generate a

reference signature that can be compared to a future submitted signature for authentication

purposes to allow it to be determined whether access to the computing device should be granted

based on the user selection (i.e., a comparison is made between the stored signature data and the

future signature data and access is granted or denied depending on whether the reference matches

the future signature), wherein at least one of the first and second user selectable input devices is

of a type of input device other than a keyboard (i.e., these input devices are selectable through the

lock screen menu when a user selects their desired security option. The fingerprint sensor is not a

keyboard.); a processor operatively interfaced with the program memory, the data storage

memory, and the first and second user selectable input device (e.g., Google Pixel 4a with a

Qualcomm 730G processor, program memory, data storage memory, and first and second user

selectable input devices built into the product); a first set of instructions stored in the program

memory that, when executed by the processor, allow a user to select at least one signal type (i.e.,

the Google Pixel 4a displays a menu that presents users with a choice of various modes (signal

types) to unlock the product such as fingerprint, password, pattern, or PIN among at least two

different user selectable signal types, to be received and stored in the memory (e.g., internal

storage), the at least two different signal types being associated with the first or second selectable


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input devices (i.e., each selectable signal type is associated with either the touch screen or the

fingerprint sensor (selectable input devices)); a second set of instructions stored in the memory

that are adapted to be executed after the first set of instructions has been executed, the second set

of instructions, when executed by the processor, causing (a) input data of at least one signal type

from the user selected one of the first and second input devices to be generated and then recorded

in the data storage memory (i.e., when prompted, a user generates input data for the selected

signal type and the Google Pixel 4a records and stores the input data in data storage memory); (b)

a reference signature to be created which comprises in part at least a portion of the input data

recorded in the data storage memory (i.e., Google Pixel 4a creates a signature using at least a

portion of the input data previously recorded and stored. For example, if a user had input a

pattern, the portion of the input data used to create the signature would be the numbers correlating

to the pattern created), and (c) the reference signature to be stored in the data storage memory

(i.e., the stored signature is later used to authenticate a user during subsequent unlock attempts);

and a third set of instructions stored in the program memory that are adapted to be executed after

both the first and second sets of instructions have been executed, the third set of instructions,

when executed by the processor, retrieving the reference signature from the data storage memory

and comparing it to a subsequent signature submission signal to allow a determination to be made

as to whether or not access to the computing device should be granted (i.e., after a screen lock

function has been set up, the Google Pixel 4a will prompt a user to input a signature to unlock the

phone and not allow access to the device should the input signature not match the reference

signature. For example, if the fingerprint unlock function was used, the user must input the same

data that has been previously recorded to unlock the device. If the incorrect data is given, the

phone will not unlock). See Ex. C-1, Figs. 1-16.


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        48.     Additionally, the use of the Google Pixel 4a by Defendant, its resellers, or end-

user customers, infringe claim 4 of the ’415 Patent by further being comprised of a hand-held

computing device.

        49.     As a result of Defendant’s infringement of the ’415 Patent, Plaintiff has suffered

monetary damages and is entitled to a money judgment in an amount adequate to compensate for

Defendant’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Defendant, together with interest and costs as fixed by the court.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter:

        a.      A judgment in favor of Plaintiff that Defendant has infringed and induced others

                to infringe the Patents-in-Suit;

        b.      a judgment and order requiring Defendant to pay to Plaintiff its damages, costs,

                expenses, and prejudgment and post-judgment interest for Defendant’s

                infringement of the Patents-in-Suit as provided under 35 U.S.C. § 284, and an

                accounting of ongoing post-judgment infringement; and

        c.      any and all other relief, at law or equity, to which Plaintiff may show itself to be

                entitled.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




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DATED August 3, 2021.              Respectfully submitted,

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                                   ATTORNEY FOR PLAINTIFF
                                   ALTPASS LLC




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